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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS



JANE DOE,

                       Petitioner,
                                                        No. 4:19-cv-04112
       v.

MACQUARIE INVESTMENT
MANAGEMENT BUSINESS TRUST,

                       Respondent.


       RESPONDENT’S REPORT TO THE COURT REGARDING PAYMENT AND
              STATEMENT REGARDING INITIAL DISCLOSURES


        1.     The court issued its Order on Anonymity, Surplusage, and Jurisdiction on November

15, 2019 (the “Order”).

        2.     In accordance with the Order, respondent filed a submission detailing its fees and

costs associated with responding to Doe’s complaint on November 22, 2019. The submission set

forth a total amount of $32,220.50 ($32,318.20 in attorneys’ fees and $2.30 in costs).

        3.      Doe filed a notice of and objection to payment of costs on November 29, 2019,

which was the last date in the Order to make the required reimbursement to respondent.

Respondent filed a brief supplement to its submission on December 2, 2019.

       4.      As set forth in her notice and objection, Doe objected to making any payment other

than for the $2.30 in costs.

        5.      Counsel for Doe advised he was unable to deliver the $2.30 payment to respondent’s

Houston counsel on November 29, 2019 because counsel’s office building was closed for the
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Thanksgiving holiday. A check in this amount was received by respondent’s counsel on December

3,2019.

       6.      No additional payments have been received by respondent since that date.

       7.      Respondent understands from the Order that the court intends to dismiss this case

after Doe has completely complied with the Order.

       8.      In view of the anticipated dismissal, respondent believes that the obligation to

exchange initial disclosures set forth in the court’s previous October 22, 2019 Order for Conference

in this matter is no longer required.

                                              Respectfully submitted,




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                                  CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing instrument was served on all

counsel of record, as listed below, via the court’s electronic filing system, on December 19,2019.




                                                     Linda C. Schoonmaker
